 4:14-cr-03011-JMG-CRZ   Doc # 96   Filed: 12/12/14   Page 1 of 1 - Page ID # 269




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3011

vs.                                                       ORDER

DARIO CABALLERO-ARREDONDO,

                 Defendant.

       This matter is before the Court on the plaintiff’s Motion to Dismiss
(filing 95). Pursuant to Fed. R. Crim. P. 48(a), leave of court is granted for
dismissal of the indictment, without prejudice, as it relates to the above-
captioned defendant.

      IT IS ORDERED:

      1.   The plaintiff’s Motion To Dismiss (filing 95) is granted.

      2.   The indictment is dismissed as to defendant Dario
           Caballero-Arredondo.

      Dated this 12th day of December, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
